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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETIS


 In re:
          Roney Louis Harris
                Debtor                               Case No. 17-31042

 Address         615 White Street
                 Springfield, MA 01108

 Last four digits of Social Security                 Chapter 13
  No(s)         __    ....:..;47=--4=8     _



              OBJECTION TO ORDER RESTRICTING RECORD ON APPEAL

          Debtor, Roney Louis Harris, objects to this Court's order restricting

 Debtor's records on appeal. In support of his objection, Debtor says the

 following:

          1. The Court uses Rule 8009 of the Fed. R. Bankr. P. as a pretext to

          restrict Debtor's ability to remit "relevant" records to the Appellant Court for

          appellate review in the U.S. District Court.   The contention is that the Rule

          requires docket numbers for each record Debtor submits for appellate

          review. Debtor finds no such requirement in Rule 8009,       and contends that

          the rule merely requires relevant records that includes "any opinion,

          findings of fact, and conclusions of law relating to the issues on appeal,

          including transcripts of all oral rulings ... " This does not comport with the

          Court's Order that gives notice that any record submitted by Debtor that is

          "designated without a docket number reference from the docket of this

          bankruptcy case will not be transmitted by the Clerk absent further order
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        of the Court." This does not account for relevant records that are not

        included in the Docket with a Docket reference number, and that also

        may be made available for appellate review.

        2. The above referenced Order restricts Appellant/Debtor's     ability to make

        such "relevant" records available for review in accordance with Rule 8009.

        3. Debtor/Appellant   asserts he should be allowed to submit all records

        that are referred to in the proceedings, as well as being considered an

        evidentiary foundation for the bankruptcy proceedings.


        In view of the foregoing, Debtor/Appellant requests that Court abridge its

 Order to allow for the relevant records -- that Debtor makes available to the Clerk

 -- also to be transmitted by said Clerk.

        Respectfully submitted,

        February 11, 2019,




                                                   Debtor/Appellant,
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                                                              .~
                                                    Roney Louis Harris, pro se
                                                   615 White Street
                                                   Springfield, MA 01108
                                                   413-736-5754


                                     CERTIFICATION

               This will certify that a copy of the foregoing was mailed, postage
        prepaid, on this date of February 11,2019 to the following:




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       Denise Pappalardo (Trustee)             u.S. Trustee
       P.O. Box 16607                          446 Main Street, 14th Floor
       Worcester, MA 01601                     Worcester, MA 01608


       Marcus Pratt, Esq.                      Stephanie Sprague, Esq.
       Korde & Associates, P.C.                Locke Lord LLP
       900 Chelmsford Street, Ste. 3102        111 Huntington Avenue
       Lowell, MA 01851                        Boston, MA 02119




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